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 4   Email: emily@lawdeleon.com

 5   Attorney for:
     Daniel Rios
 6
                                     UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
      UNITED STATES OF AMERICA,                         Case No. 1:16-CR-00096-LJO-SKO
10
                         Plaintiff
11
      DANIEL RIOS,                                      STIPULATION AND ORDER FOR
12                                                      AMENDED BRIEFING SCHEDULE
                         Defendants.
13

14
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT; HONORABLE DALE A.
15   DROZD, UNITED STATES DISTRICT COURT JUDGE; AND JESSICA MASSEY,
     ASSISTANT UNITED STATES ATTORNEY:
16

17           COMES NOW Defendant, DANIEL RIOS, by and through his attorney of record,
18   EMILY DELEON, hereby submitting the following proposed order for an amended briefing
19   schedule regarding the Defendant’s request for Compassionate Release.
20           Defense received the signed medical record release from Mr. Rios on August 5, 2020.
21   After reviewing the packet of information from Mr. Rios and receiving this signed release,
22   defense submitted the medical records request to the Bureau of Prisons on August 8, 2020.
23   Defense counsel received Mr. Rios’s medical records from the Bureau of Prisons August 11,
24   2020 and needs additional time to review them and have a confidential phone call with Mr. Rios.
25   As such, defense requires additional time to prepare filings.
26   /////
27   /////
28   /////
                                                       1
     Case 1:16-cr-00096-AWI-SKO Document 159 Filed 08/13/20 Page 2 of 2


 1
     IT IS SO STIPULATED.
 2                                                         Respectfully Submitted,
     DATED: 08/12/20                                       /s/ Emily Deleon______
 3                                                         EMILY DELON
                                                           Attorney for Defendant
 4
                                                           Daniel Rios
 5

 6   DATED: 08/12/20                                       /s/Jessica Massey____
                                                           JESSICA MASSEY
 7                                                         Assistant U.S. Attorney
 8

 9

10                                          ORDER
11

12
           In accordance with the above stipulation, the BRIEFING SCHEDULE is as follows:
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14
           Defendant’s/Movant’s Supplemental Opening Brief August 31, 20220
15

16         Government/Respondent’s Opposition Brief Due September 16, 2020

17         Defendant’s/Movant’s Reply (if any) Due September 21, 2020
18

19
     IT IS SO ORDERED.
20
        Dated:   August 13, 2020
21                                               UNITED STATES DISTRICT JUDGE
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